Case 2:04-cV-02709-.]P|\/|-de Document 33 Filed 08/29/05 Page 1 of 3 Page|D 44

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IN THE UNITED sTA'rEs DISTRICT coURT ~'~ -- D-C.
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 AUG 29 g
wEsTERN DIvIsIoN H 8’ 20

 

 

CATHERINE JO ZEBROSKI, BRIAN
ZEBROSKI and TANYA TRULLI,
next-of-kin and heirs at law of CHARLES
D. ZEBROSKI, deceased,

Plaintiffs

vs. NO: 04-CV-2709 Ml V
CENTURY TRANSPORTATION, INC.,
APPIAN FREIGHT SYSTEMS, LTD,
AND GEORGE W. FREEMAN,

-l-*************

Defendants.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

Come now the parties, by and through their attorneys of record, and announce to the Court
that the matters and things heretofore in controversy between them have been settled and that this

cause should therefore be dismissed, with prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Plaintist case

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DATED; H¢~\_ 21 7003

be, and the same is hereby dismissed with prejudice

Th!s document entered on the docket sheet |n compliance
with ama 58 and/or re(a) FncP on 'Z

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' TATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 33 in
case 2:04-CV-02709 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

